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 9                            UNITED STATES DISTRICT COURT
10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                  WESTERN DIVISION
12
     RONNA BANKS,                                 No. 2:24-cv-03415-JAK-E
13
                Plaintiff,
14                                                [PROPOSED] ORDER GRANTING
                       v.                         DEFENDANT UNITED STATES OF
15                                                AMERICA’S MOTION TO DISMISS
     UNITED STATES OF AMERICA ET                  PLAINTIFF’S FIRST AMENDED
16   AL.;                                         COMPLAINT
17              Defendants.                       Hearing Date:     March 3, 2025
                                                  Hearing Time:     8:30 a.m.
18                                                Ctrm:             10C
19                                                Honorable John A. Kronstadt
                                                  United States District Judge
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 1         The Court, having considered defendant United States of America’s (“United
 2   States”) Motion to Dismiss the First Amended Complaint of plaintiff Ronna Banks
 3   (“Plaintiff”) pursuant to Federal Rule of Civil Procedure 12(b)(1), as well as the
 4   arguments of the parties and the papers submitted, it is hereby ordered that:
 5         The United States’s Motion to Dismiss is GRANTED. Plaintiff cannot establish
 6   subject matter jurisdiction over her claims arising under the Architectural Barrier Act of
 7   1968, 42 U.S.C. § 4151 et seq. (“ABA”) and the Unruh Civil Rights Act, Cal. Civ. Code
 8   §51-53. (“Unruh Act”). Plaintiff’s ABA and Unruh Act claims are dismissed with
 9   prejudice.
10         IT IS SO ORDERED.
11
12   Dated: _____________                   _________________________________
13                                          Honorable John A. Kronstadt
                                            United States District Court Judge
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